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From: rr
To: Jonston, Deborah (USAMD); Sovder, Steohen »:
Subject: RE: FPF Case 2004540100022101- LAVON DOBIE
Date: Friday, June 20, 2014 8:42:08 AM

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